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                          UNITED STATES BANKRTUPCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
In re:                                         :           Case No. 09-51303

REBECCA J. BEITER                              :           Chapter 13

                       Debtor.                 :           Judge PRESTON


                                               :
REBECCA J. BEITER                                          Adv. Pr. No. 2:15-ap-02195
                                               :
                       Plaintiff,
                                               :
v.
                                               :
CHASE HOME FINANCE, LLC and
JP MORGAN CHASE BANK, N.A.                     :

                       Defendants.             :

    PLAINTIFF REBECCA J. BEITER’S MEMORANDUM IN OPPOSITION TO
 DEFENDANT’S MOTION TO DISMISS CLASS ACTION COMPLAINT, OR IN THE
        ALTERNATIVE, TO STRIKE CLASS ALLEGATIONS [DOC. 13]

         I.     INTRODUCTION

         Plaintiff Rebecca J. Beiter (“Ms. Beiter”), through counsel, respectfully requests the

Court deny Defendant JPMorgan Chase Bank, N.A., individually and as successor by merger to

Chase Home Finance, LLC (“Chase”)’s Motion to Dismiss Class Action Complaint or, in the

Alternative, to Strike Class Allegations. [Doc. 13.] Chase’s Motion misinterprets the law in the

Sixth Circuit, attempts to create confusion where there is none, and prematurely attempts to

strike class allegations that are properly pled.

         Since the successful completion of Ms. Beiter’s confirmed Chapter 13 Bankruptcy Plan,

Chase has demanded thousands of dollars in unexplained and/or discharged fees, threatened her

with foreclosure, refused to update and/or consider her account as current, and has continuously



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sent her uncorrected mortgage statements indicating the account was still in “active bankruptcy”

post-discharge. Chase has done this despite accepting every one of Ms. Beiter’s post-discharge

payments that were for more than the required amount pursuant to her Chapter 13 Plan. As a

result, Ms. Beiter filed the Complaint [Doc. 1], on behalf of herself and all others similarly

situated, seeking contempt charges against Chase for its violations of the discharge injunction

imposed by § 524 of the Bankruptcy Code, and requesting damages and injunctive relief in the

form of sanctions against Chase for its contempt.

        Ms. Beiter properly filed an adversary proceeding in this Court after it found good cause

to reopen her bankruptcy case to allow her to do so. [In re Beiter, 09-51303 [Doc. 74].] Ms.

Beiter did not and is not attempting to file a private action against Chase in a U.S. District Court.

Although Chase argues that Ms. Beiter fails to state a claim upon which relief can be granted

because there is no private right of action for violations of the discharge injunction, what Chase

fails to realize is that the mere fact Ms. Beiter requests damages in addition to/in the form

sanctions does not somehow convert the suit into a private action. Ms. Beiter’s commencement

of an adversary proceeding to redress violations of the discharge injunction is indeed a proper

mechanism in which to request the relief Ms. Beiter seeks under Federal Rule of Bankruptcy

Procedure 7001. As a result, the Complaint should not be dismissed.

        Despite Chase’s alternative argument, Ms. Beiter’s Complaint should also not be treated

as an individual motion for civil contempt with all class claims stricken. Chase’s arguments in

support of its alternative request appear to be based on the premise that Ms. Beiter’s class

allegations arise from a court-specific order, which is not the case.         Ms. Beiter has also

sufficiently defined the proposed Classes at this stage to survive Chase’s premature motion to

strike under Federal Rule of Civil Procedure 23, and therefore Chase’s motion should be denied

in its entirety.

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        II.    BACKGROUND

        Ms. Beiter filed the Class Action Complaint for Violation of § 524 Discharge on October

5, 2015. [Doc. 1.] The allegations in the Complaint stem from Chase’s failure to comply with

Ms. Beiter’s Chapter 13 discharge, pursuant to 11 U.S.C. § 1328(a), and Chase’s multiple

systematic violations of the discharge injunction imposed by § 524 of the Bankruptcy Code.

[Id.]

        More specifically, Ms. Beiter alleges that she filed a voluntary petition for bankruptcy

under Chapter 13 on February 13, 2009. [Id. at ¶ 13.] At that time, Ms. Beiter was current on

her mortgage loan payments. [Id. at ¶ 15.] The Court confirmed Ms. Beiter’s Chapter 13 Plan

on April 28, 2009, which included Chase’s secured proof of claim showing a total amount due on

her mortgage loan of $89,598.82. [Id., ¶¶ 18-20.] After making all of her monthly payments and

successfully completing her confirmed Chapter 13 Plan in February 2014, the Chapter 13 Trustee

filed a Motion to Deem Mortgage Current Mortgage Current on February 10, 2014. [Id., ¶¶ 22,

26-28.] On March 13, 2014, the Court granted the Trustee’s motion and deemed Ms. Beiter

current on her mortgage as of the Final Payment Date in February 2014. [Id., ¶¶ 32-33.] The

Court also granted Ms. Beiter a discharge under 11 U.S.C. § 1328(a) on March 13, 2014. [Id. at

¶ 31.] Her case was subsequently closed on May 27, 2014. [Id. at ¶ 38.]

        Ms. Beiter’s case was reopened to correct an administrative error unrelated to this matter

in July 2014 and closed shortly thereafter on September 9, 2014. [Doc. 1 at ¶ 39; In re Beiter,

09-51303 [Docs. 68-72].]      Chase’s attempt to use this fact to shift the focus from its own

egregious behavior is absurd. [See Def.’s Mot. to Dismiss, p. 4.] It is clear from the Complaint

Ms. Beiter did not “admit” any of Chase’s violations were due to her own actions or inactions,

and she certainly made no “concessions” regarding any “confusion.” [Id.] While it is true Ms.

Beiter did not make a July ‘14 payment directly to Chase because she did not know whether she


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would have to instead pay the Trustee again, Ms. Beiter has otherwise made consecutive monthly

mortgage payments every month post-discharge directly to Chase at her local Coshocton, Ohio

Chase branch, all of which Chase has accepted. [Doc. 1, ¶¶ 37, 39-40, 56, 69.] Yet, Chase

inexplicably continues to demand several thousands of dollars are due. [Id., ¶¶ 41, 58-63, 66-67.]

       Chase’s latest suggestion that its actions are “inadvertent,” somehow alleviating it from

being held accountable and sanctioned for discharge violations, is just as unreasonable. [Def.’s

Mot. to Dismiss, p. 4, fn. 2.] The case cited by Chase in support of its argument is also easily

distinguishable. [Id.] In In re Norris, Adv. No. 11-6089, 2012 WL 2792455 (Bankr. N.D. Ohio

2012), where the plaintiffs commenced an adversary proceeding for violations of the § 524

injunction, the Defendants immediately corrected their mistake in personally naming plaintiffs in

a foreclosure action post-discharge (by amending the complaint to be an “in rem” foreclosure)

before plaintiffs even moved to reopen their bankruptcy case. Here, there has been no attempt by

Chase to resolve any of the errors made to Ms. Beiter’s account, even after Ms. Beiter’s multiple

attempts to have her account corrected. [Doc. 1, ¶¶ 45-57.]

       As a result, the Complaint also alleges that during the pendency of Ms. Beiter’s

bankruptcy and since her discharge, Ms. Beiter has received misleading mortgage statements

containing unexplained late fees and showing she owed/owes several thousands of dollars. [Id.,

¶¶ 23-25, 30, 41.] And, following her discharge, Ms. Beiter’s mortgage statements continued to

state her account was in “active bankruptcy.” [Id. at 42.] For example, as of July 1, 2015, Ms.

Beiter’s mortgage statement indicated her account was still in bankruptcy, contractually due for

December 1, 2014, and the total amount due was $7,305.23. [Id. at 58.]

       Ms. Beiter further alleges that despite her payments, and even after she and her

bankruptcy attorney communicated directly with Chase’s representatives on numerous occasions

confirming Ms. Beiter’s bankruptcy had been completed and discharged, Ms. Beiter also

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received a conflicting July 2015 statement demanding $6,494.88 [Id., ¶¶ 34-37, 40, 45, 47, 49-

50, 53-57, 59], as well as letters from Chase dated July 9, 2015 threatening foreclosure unless

she paid $5,296.05. [Id. at ¶ 60.] In fact, since July 2015, Ms. Beiter has continued receiving

conflicting correspondence from Chase, informing her that her account was delinquent or in

default, and demanding different amounts in order to cure the purported default. [Id., ¶¶ 61-68.]

       On August 5, 2015, Ms. Beiter filed a motion to reopen her bankruptcy case for the stated

purpose of permitting her to file an Adversary Proceeding, on behalf of herself and all others

similarly situated, to hold Chase responsible for its failure to comply with the discharge

injunction and orders of this Court. [See In re Beiter, 09-51303 [Doc. 73].] Chase was properly

served a copy of the motion, but filed no response or objection within the provided 21 days. [Id.]

The Court granted Ms. Beiter’s motion on September 4, 2015. [Id. at Doc. 74.]

       As a result of Chase’s actions during Ms. Beiter’s bankruptcy and following her

discharge, Ms. Beiter filed the Complaint alleging, upon her personal knowledge, the

investigation of her counsel, and information and belief, that Chase has a uniform set of policies

and/or procedures to service mortgage loans, including those in bankruptcy, and that Chase has

routinely failed to correct its records to account for Chapter 13 bankruptcy plan payments and

discharges. [Doc. 1, ¶¶ 75-81.]     The Complaint further states Chase wrongfully continues

collecting and attempting to collect inflated and/or discharged fees from similarly situated

debtors, and that there is a sufficient number of other debtors that have experienced at least

similar violations of the § 524 discharge injunction by Chase such that both a Nationwide Class

and Southern District of Ohio Class may be formed. [Id., ¶¶ 82-107.]

       Importantly, the Complaint also specifically alleges that Chase has failed to follow not

only this Court’s Orders, but also the Federal Bankruptcy Rules. [Id., ¶¶ 34-35, 43-44, 70, 72-

73, 78-85, 111-122, 124.] Ms. Beiter seeks relief that includes the recovery of money and other

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damages in the form of sanctions against Chase for its contempt/violations of the Bankruptcy

Code. [Id., ¶¶ 4, 86, 125-126.] Chase filed its Motion to Dismiss Class Action Complaint, or in

the Alternative, to Strike Class Allegations on December 14, 2015 [Doc. 13], and Ms. Beiter now

submits this Memorandum in Opposition to the same for the reasons articulated below.

       III.    LAW & ARGUMENT

               a. Ms. Beiter’s contempt action regarding Chase’s violations of the
                  discharge injunction may be adjudicated as an adversary proceeding.

       Ms. Beiter properly initiated an adversary proceeding for Chase’s violations of the

discharge injunction under § 524, and the Complaint is not “barred by controlling Sixth Circuit

precedent” as Chase contends. (Def.’s Mot. to Dismiss, p. 6.) Where an order granting a

discharge is entered, as it was in this case and in every other putative class members’ instance, §

524(a) of the Bankruptcy Code automatically sets forth an injunction. 11 U.S.C. § 524(a)(2).

While the Sixth Circuit Court of Appeals has found that §524 does not expressly or impliedly

confer a “private right of action” upon a debtor for violations of the discharge injunction, the

Court did not suggest that an aggrieved debtor is without a remedy to recover damages from a

creditor who has violated the injunction. Pertuso v. Ford Motor Credit Co., 233 F.3d 417 (6th

Cir. 2000)(affirming dismissal of a class action complaint brought in the U.S. District Court for

the Eastern District of Michigan – not in a bankruptcy court like is the case here.) In fact, the

Bankruptcy Appellate Panel has since cited Pertuso when finding that “[w]hile there is no

private right of action for violation of the discharge injunction, debtors may bring civil contempt

charges against a party they allege has violated the injunction, and if contempt is established,

they may be awarded damages as a sanction for that contempt.” Badovik v. Greenspan (In re

Greenspan), 464 B.R. 61 (6th Cir. B.A.P. 2011), citing Pertuso, 233 F. 3d at 421-23. As stated in

the Complaint, this is exactly what Ms. Beiter seeks to do. [Doc. 1.]



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        Further, it has long been recognized that “[t]he power to punish for contempts is inherent

in all courts.” Chambers v. NASCO, Inc., 501 U.S. 32, 44, 111 S. Ct. 2123, 2132, 115 L. Ed. 2d

27 (1991), quoting Ex Parte Robinson, 86 U.S. 505, 510, 22 L.Ed. 205 (1847). “This power

reaches both conduct before the court and that beyond the court’s confines[.]” Id. Also, in the

bankruptcy context, 11 U.S.C. § “105 undoubtedly vests bankruptcy courts with statutory

contempt powers[.]” Pertuso, 233 F.3d at 421, 423 n.1. The core function of 105(a) is to

provide the court with the power to implement the provisions of the Bankruptcy Code.

Ameriquest Mortgage Co. v. Nosek (In re Nosek), 544 F.3d 34, 43 (1st Cir. 2008) (“Section

105(a) of the Code provides the bankruptcy court broad authority to exercise its equitable

powers—where necessary and appropriate to facilitate the implementation of other Bankruptcy

Code provisions.” (internal quotations omitted).)

        As result, many courts have heard contempt actions brought as adversary proceedings.

See West v. Home Savings & Loan (In re West), Bankr. N.D. Ohio No. 13-33815, 2015 WL

3962569 (Bankr. N.D. Ohio June 29, 2015); Kilbourne v. CitiMortgage, Inc. (In re Kilbourne),

507 B.R. 219 (Bankr. S.D. Ohio 2014); Motichko v. Premium Asset Recovery Corp. (In re

Motichko), 395 B.R. 25, 32 (Bankr. N.D.Ohio 2008); Miles v. Clarke (In re Miles), 357 B.R. 446

(Bankr. W.D. Ky. 2006); Brannan v. Wells Fargo Home Mortgage, Inc. (In re Brannan), 485

B.R. 443, 455 (Bankr. S.D. Ala.2013); Collins v. Wealthbridge Mortg. Corp. (In re Collins), 474

B.R. 317, 319 (Bankr. D. Me.2012); Canning v. Beneficial Maine, Inc. (In re Canning), 442 B.R.

165 (Bankr.D.Me.2011), aff'd 462 B.R. 258 (B.A.P. 1st Cir. 2011), aff'd 706 F.3d 64 (1st

Cir.2013); Palazzola v. City of Toledo (In re Palazzola), 2011 WL 3667624, *11 (Bankr. N.D.

Ohio 2011). 1


1
 Note that most of these cases were decided after the Barrientos v. Wells Fargo Bank, N.A., 633 F.3d 116 (9th Cir.
2011) case in which Chase relies.


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          Chase’s attempt to distinguish this case from some of the cases cited above falls flat, as

Chase identifies no real prejudice in allowing Ms. Beiter to proceed via adversary complaint

instead of by motion under Rule 9014. [See Def’s Mot. to Dismiss, p. 8, fn. 3.] The fact that the

Complaint includes class action allegations alone is in no way demonstrative of prejudice, and

Chase cites to no case law to suggest otherwise. [Id.] Not only does Fed. R. Bankr. P. 7023

specifically make class action procedures under Fed. R. Civ. P. 23 available in adversary

proceedings, but Fed. R. Bankr. P. 9014(c) also allows a court to apply Rule 7023 in a contested

matter.      Reid v. White Motor Corp., 886 F.2d 1462, 1469-70 (6th Cir. 1989)(“Rule

9014 authorizes bankruptcy judges,           within     their   discretion,     to    invoke Rule 7023,           and

thereby Fed. R. Civ. P. 23, the class action rule, to ‘any stage’ in contested matters[.]” In other

words, Chase will be facing the class claims in either context.

          Moreover, although the traditional way to bring an action for contempt for violation of a

discharge injunction is by motion, 2 Fed. R. Bankr. P. 7001(1) and (7) identifies “proceeding[s] to

recover money…” and “proceeding[s] to obtain an injunction or equitable relief…” as adversary

proceedings, and the Complaint seeks both of these things. [Doc. 1, ¶¶ 86, 126.] Finally, in

interpreting the Sixth Circuit’s finding in Pertuso, this Court has also specifically stated:

          “This Court, however, does not interpret the Sixth Circuit Court of Appeal’s holding to
          stand for the proposition that an action for violation of the discharge injunction may only
          be brought by motion; Pertuso only dictates that a contempt proceeding be initiated in the
          bankruptcy court which issued the discharge. Accordingly, commencement of an
          adversary proceeding to redress a violation of the discharge injunction may be proper, if
          the adversary is initiated in the court that issued the discharge order.

Kilbourne, 507 B.R. at 222-23. Here, unlike Pertuso, Ms. Beiter did not file a direct claim

against Chase in a U.S. District Court. Ms. Beiter properly initiated this proceeding in the court

where her discharge was granted, and now she seeks to represent all others similarly situated that

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 Fed. R. Bankr. P. 9014(a) provides that relief in “… a contested matter not otherwise governed by these rules”
shall be requested by motion. (emphasis added).


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had the same discharge granted under § 1328(a) (and consequent injunction activated that Chase

violated). Therefore, this matter is suitably before the Court as an adversary proceeding and

should not be dismissed.

               b. Even if the Court were to consider the Complaint a “motion for civil
                  contempt,” the class claims are appropriate, properly pled at this stage of
                  the litigation, and should not be stricken.

       First, Chase’s request to strike the class claims pursuant to Federal Rule of Civil

Procedure 23(d)(1)(D), which provides that a court may “require that the pleadings be amended

to eliminate allegations about representations of absent persons” is improper. Fed. R. Civ. P.

23(d)(1)(D). “A Rule 23(d)(1)(D) order to strike class allegations is appropriate only after the

court rules that class treatment is improper-such as after the court denies class certification.”

Faktor v. Lifestyle Lift, No. 1:09-CV-511, 2009 WL 1565954, at *1 (N.D. Ohio June 3, 2009),

quoting 5–23 Moore's Federal Practice—Civil § 23.145 (emphasis added).            Therefore, “[a]

motion to strike class allegations is not a substitute for class determination and should not be

used in the same way.” Faktor at *2.

       Additionally, motions to strike class allegations, generally, and based solely on the

pleadings, are disfavored. See Chenesky v. N.Y. Life Ins. Co., No 07-CV11504, 2011 WL

1795305 (S.D.N.Y. Apr. 27, 2011); see also Manning v. Boston Med. Ctr. Corp., 725 F.3d 34, 59

(1st Cir. 2013). Although it is true a court may strike class allegations if the complaint clearly

demonstrates a class action cannot be maintained (see, e.g. Pilgrim v. Univ. Health Card, LLC,

660 F.3d 943, 945 (6th Cir. 2011), that is not the case here, where it is evident from the

Complaint that the alleged Classes satisfy the requirements of Fed. R. Civ. P. 23. [Doc. 1, ¶¶ 88-

106.] Specifically, Ms. Beiter properly alleges the Classes are numerous, there are common

questions of law or fact among the Classes, Ms. Beiter’s claims are typical of the Classes, and

she will adequately protect the interests of the Classes, thereby satisfying the requirements of

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Rule 23(a). [Id., ¶¶ 91, 95-96, 98-100.] The Complaint also alleges facts in support of Rule

23(b), which Ms. Beiter can elaborate on after she has had the opportunity to complete discovery

and move for class certification. [Id., ¶¶ 94-97, 102, 104-107.] Therefore, not only are Chase’s

arguments regarding the appropriateness of the class allegations premature, but it is also clear

from the face of the Complaint that the proposed Classes would satisfy the requirements of Rule

23 at the pleading stage, and therefore Chase’s Motion to Strike the same should be denied.

       Finally, for the reasons already stated herein, the Complaint should not be treated as a

motion for civil contempt. However, even if the Court were to grant Chase’s request and this

case was re-filed or continued as a contempt motion, Chase ignores the fact that a court within

the Sixth Circuit has recently held that contempt motions can too proceed as class actions. See In

re Biery, No. 10-23338, 2014 WL 1431947 (Bankr. E.D. Ky. April 14, 2014); In re Biery, 2015

WL 8608804 (Bankr. E.D. Ky. December 11, 2015)(class certification motion granted in part).

       In any event, Chase’s argument that treating this case as a class action is improper

because this Court cannot consider whether Chase violated orders issued in other cases by other

judges is also misplaced. [Def.’s Mot. to Dismiss at p. 13.] “There is *** a fundamental

difference between the normal injunction issued by a court after considering the factors required

to be applied in issuing an injunction order and the injunction created by Congress in Section

524(a)[.]” In re Haynes, No. 11-23212 (RDD), 2014 WL 3608891, at *8 (Bankr. S.D.N.Y. July

22, 2014)(“Section 105(a) “does not refer to aiding the Court’s own jurisdiction.”(emphasis

added).) Therefore, under the Bankruptcy Code, the § 1328(a) discharge awarded to Ms. Beiter

and other debtors throughout the country following the successful completion of confirmed

Chapter 13 Bankruptcy Plans, as well as the injunction that is automatically activated by that

discharge, are the same nationwide, and so are Chase’s actions violating the injunction.




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        Consequently, although Chase argues there “is no blanket injunction that was issued” in

this case, Chase is mistaken because § 524 is a specifically that. [Def.’s Mot. to Dismiss at p.

13.] Chase also agrees that the “discharge injunction only applies to debts that were discharged

by the bankruptcy proceeding[,]” [Id., citing In re Martin, 474 B.R. 789, *5 (6th Cir. 2012)], and

here, the proposed Classes specifically refer to those debtors who successfully received Ch. 13

discharges – hence, automatically activating the 524 injunction. [Doc. 1, ¶¶ 89, 98-99.]

        Accordingly, Chase’s arguments in support of its alternative motion to strike are

improper, more properly deferred to the class certification stage, and flawed.              Ms. Beiter

therefore respectfully requests Chase’s motion to strike be denied.

        IV.     CONCLUSION

        For the foregoing reasons, Chase’s Motion [Doc. 13] should be denied in its entirety.

Ms. Beiter properly brought her contempt action as an adversary proceeding, and this Court not

only has authority to consider a class action in any context, but the Complaint alleges sufficient

facts to describe the prospective Classes at this stage of the litigation.

                                                Respectfully Submitted,
                                                DOUCET & ASSOCIATES CO., L.P.A.



                                                s/ Troy J. Doucet
                                                Troy J. Doucet, Trial Counsel (0086350)
                                                Bridget M. Wasson (0084457)
                                                700 Stonehenge Parkway, Suite 200B
                                                Dublin, Ohio 43017
                                                Telephone: (614) 944-5219
                                                Facsimile: (818) 638-5548
                                                Troy@TroyDoucet.com
                                                Bridget@TroyDoucet.com

                                                Attorneys for Plaintiff Rebecca J. Beiter




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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 18, 2016, a copy of the foregoing Motion was served on
the following registered ECF participants electronically through the court’s ECF system at the
email registered with the court pursuant to Fed.Civ.R.P.5(b)(3):

David M. Whittaker, Esq.
Kenneth C. Johnson, Esq.
BRICKLER AND ECKLER LLP
100 South Third Street
Columbus, Ohio 43215
dwhittaker@brickler.com
kjohnson@brickler.com

The following additional party was served with the foregoing via prepaid U.S. mail on this 18th
day of January, 2016, pursuant to Fed.Civ.R.P.5(b)(2)(C):

Kenneth M. Kliebard, Esq.
MORGAN, LEWIS & BROCKIUS LLP
77 West Wacker Drive, Suite 500
Chicago, Illinois 60601-5094

                                            s/ Troy J. Doucet
                                            Troy J. Doucet (0086350)




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